Case 3:23-cv-00218-KRG Document 55 Filed 08/13/24 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JANE DOE, Case No. 3:23-cv-218

JUDGE KIM R. GIBSON
Plaintiff,

SOMERSET COUNTY and JEFFREY
THOMAS,

Defendants.

ORDER

AND NOW, this . day of August, 2024, upon consideration of Defendant
Jeffrey Thomas’s Response in Opposition to Plaintiffs Motion for a Protective Order at ECF
No. 2, (ECF No. 54), IT IS HEREBY ORDERED that Plaintiff and Defendant Somerset

County shall file their replies, if any, on or before September 10, 2024, The Court will

resolve the issue of Plaintiff proceeding under a pseudonym when it resolves the pending

Motion to Dismiss at ECF No. 40.

BY THE COURT:

KIM R. GIBSON
UNITED STATES DISTRICT JUDGE
Case 3:23-cv-00218-KRG

Notice by U.S. Mail to:
Jeffrey Thomas
OP9446

SCI Waymart

P.O. Box 256

Waymart, PA 18472

Document 55 ~ Filed 08/13/24 Page 2 of 2
